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1      CENTER FOR DISABILITY ACCESS
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7                         UNITED STATES DISTRICT COURT
8                        NORTHERN DISTRICT OF CALIFORNIA
9      ORLANDO GARCIA,                                 Case: 4:21-cv-09808-JSW
            Plaintiff,
10      v.                                             Plaintiff’s Notice of Voluntary
11     KAREN DOHERTY, in individual                    Dismissal With Prejudice
       and representative capacity as
12     trustee under the Karen Doherty
       Living trust dated November 15,                 Fed. R. Civ. P. 41(a)(1)(A)(i)
13     2001;
       CHEMPARATHY, INC., a California
14     Corporation
               Defendants.
15
16         PLEASE TAKE NOTICE that Plaintiff Orlando Garcia, hereby
17   voluntarily dismisses the above captioned action with prejudice pursuant to
18   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
19         Defendants Karen Doherty, in individual and representative capacity as
20   trustee under the Karen Doherty Living trust dated November 15, 2001 and
21   Chemparathy, Inc., a California Corporation have neither answered Plaintiff’s
22   Complaint, nor filed a motion for summary judgment. Accordingly, this matter
23   may be dismissed without an Order of the Court.
24   Dated: March 29, 2022                CENTER FOR DISABILITY ACCESS
25                                        By: /s/ Amanda Seabock
26                                              Amanda Seabock
                                                Attorneys for Plaintiff
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                 Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                              Federal Rule of Civil Procedure 41(a)(1)(A)(i)
